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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                           )
                                                         )
 9                          Plaintiff,                   )
                                                         )
10          v.                                           )           2:11-CR-327-PMP (CWH)
                                                         )
11   MICHAEL PAUL MATULICH,                              )
     a.k.a. “Rampage”                                    )
12                                                       )
                            Defendant.                   )
13
                              PRELIMINARY ORDER OF FORFEITURE
14

15         This Court finds that on June 21, 2012, defendant MICHAEL PAUL MATULICH, a.k.a.

16   “Rampage”, pled guilty to Counts One and Two of a Nine-Count Criminal Indictment charging him

17   in Count One with Conspiracy to Distribute a Controlled Substance in violation of Title 21, United

18   States Code, Sections 841(a)(1) and 846, and in Count Two with Conspiracy to Unlawfully Deal in

19   Firearms in violation of Title 18, United States Code, Section 922(a)(1). Criminal Indictment, ECF

20   No. 1; Minutes of Change of Plea Proceedings, ECF No. 56; Plea Memorandum, ECF No. 58.

21         This Court finds defendant MICHAEL PAUL MATULICH, a.k.a. “Rampage”, agreed to the

22   forfeiture of the property set forth in Forfeiture Allegations of the Criminal Indictment and the Plea

23   Memorandum. Criminal Indictment, ECF No. 1; Minutes of Change of Plea Proceedings, ECF No.

24   56; Plea Memorandum, ECF No. 58.

25          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

26   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of
         Case
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 1   the Criminal Indictment and the Plea Memorandum and the offenses to which defendant MICHAEL

 2   PAUL MATULICH, a.k.a. “Rampage”, pled guilty.

 3          The following assets are subject to forfeiture pursuant to Title 18, United States Code,

 4   Sections 924(d)(1), (2)(C) and (3)(B) and Title 28, United States Code, Section 2461(c); Title 21,

 5   United States Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); Title 21,

 6   United States Code, Section 853(a)(1) and (p); and Title 26, United States Code, Section 5872(a)

 7   and Title 28, United States Code, Section 2461(c):

 8          (a)     Maverick model 88, 12 gauge short-barreled shotgun, serial number MV04934G;

 9          (b)     Mossberg, model 500A, 12 gauge shotgun, serial number L244961;

10          (c)     Intratec Model Tec-9, 9mm, serial number 23988;

11          (d)     Russian SKS 7.62X39 rifle, with bayonet, serial number 9937905;

12          (e)     Beretta, model 92FS Compact 9mm pistol, serial number E31982Z;

13          (f)     a homemade Mac-11 type 9mm pistol;

14          (g)     Keltic, CNC Industries, Inc. P11 pistol 9mm, serial number ASK60;

15          (h)     any and all ammunition;

16          (i)     an in personam criminal forfeiture money judgment of $900.00 in United States

17          Currency; and

18          (j)     an in personam criminal forfeiture money judgment of $300.00 in United States

19          Currency (“property”).

20          This Court finds the United States of America is now entitled to, and should, reduce the

21   aforementioned property to the possession of the United States of America.

22          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

23   United States of America should seize the aforementioned property.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

25   MICHAEL PAUL MATULICH, a.k.a. “Rampage”, in the aforementioned property is forfeited and

26   is vested in the United States of America and shall be safely held by the United States of America
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 1   until further order of the Court.

 2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 3   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 4   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 5   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

 6   the name and contact information for the government attorney to be served with the petition,

 7   pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

 9   filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

11   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

12   following address at the time of filing:

13                  Michael A. Humphreys
                    Assistant United States Attorney
14                  Daniel D. Hollingsworth
                    Assistant United States Attorney
15                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
16                  Las Vegas, Nevada 89101.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

18   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

19   following publication of notice of seizure and intent to administratively forfeit the above-described

20   property.

21                       25th day
            DATED this ______        June, 2012.
                              day of __________________, 2012.

22

23

24                                                  UNITED STATES DISTRICT JUDGE

25

26
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 1                                       PROOF OF SERVICE

 2          I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the

 3   following individuals were served with a copy of the foregoing on June 22, 2012, by the below

 4   identified method of service:

 5          CM/ECF:

 6
     Michael Ryan Pandullo
 7   700 S. Third Street
     Las Vegas, NV 89101
 8   Email: michael.pandullo@gmail.com
     Counsel for Defendant Michael Matulich
 9

10   Krystallin D Hernandez
     Robert Langford & Associates
11   616 South 8th Street
     Las Vegas, NV 89101
12   Email: krystallin@robertlangford.com
     Counsel for Defendant Bo Ellison
13

14   James Hartsell
     Law Offices of James Hartsell
15   720 S. 4th St. Suite 100
     Las Vegas, NV 89101
16   Email: james@hartselllaw.com
     Counsel to Defendant Michael Duty
17

18   Jason F. Carr
     Federal Public Defender
19   411 E Bonneville Suite 250
     Las Vegas, NV 89101
20   Email: ECF_Vegas@FD.ORG
     Counsel to Defendant Angel Sesteaga
21

22

23                                               /s/ Elizabeth Baechler-Warren
                                                 Elizabeth Baechler-Warren
24
                                                 Forfeiture Support Associate Paralegal
25

26
